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11   Attorneys for Plaintiff Nextdoor, Inc.

12                                UNITED STATES DISTRICT COURT

13               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

14 NEXTDOOR, Inc.,                              Case No. 3:21-cv-03341-EMC

15                  Plaintiff,                  STATEMENT RE FURTHER STATUS
                                                CONFERENCE
16         vs.
                                                Date:    January 31, 2023
17 420 TAYLOR VENTURES, LLC, NT 420             Time:    2:30 p.m.
   TAYLOR OWNER LLC, NH 420 TAYLOR              Place:   Via Remote Videoconference
18 OWNER LLC, 420 TAYLOR HOLDINGS
   OWNER LLC, and SEVEN EQUITY                  The Hon. Edward M. Chen
19 GROUP, LLC,
                                                Trial Date:          Vacated per ECF 149
20                  Defendants.

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                                                                    Case No. 3:21-cv-03341-EMC
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 1          Pursuant to Rule 16 of the Federal Rules of Civil Procedure, Northern District of

 2 California Local Rule 16-10(d), this Court’s Order to Continue Trial Date and to Enlarge Pretrial

 3 Deadlines (ECF 131), and the Clerk’s Notice Continuing 12/20/2022 Status Conference and

 4 Vacating Trial Dates (ECF 149), Plaintiff Nextdoor, Inc. (“Plaintiff” or “Nextdoor”), by and

 5 through its respective counsel, hereby submits the following Statement. On January 24, 2023,

 6 Nextdoor requested the approval of 420 Taylor Ventures, LLC, NT 420 Taylor Owner LLC, NH

 7 420 Taylor Owner LLC, 420 Taylor Holdings Owner LLC, and Seven Equity Group, LLC

 8 (“Defendants,” and together with Nextdoor, the “Parties”) to file this statement jointly, but

 9 Nextdoor did not receive a response before this Statement was filed.

10 I.       BACKGROUND

11          The allegations, claims, and defenses in this case have been extensively briefed and are

12 well-known to the Court. In the interest of brevity, Nextdoor dispenses with a further recitation

13 here.

14 II.      SETTLEMENT

15          As the Parties previously informed the Court, the Parties have made significant progress

16 toward a final resolution of both this Action and a related matter pending in the United States

17 District Court for the Southern District of New York, case no. 1:22-mc-00110-AT, regarding

18 Defendants’ motion to quash a subpoena served by Nextdoor on non-party Ackman Ziff Real

19 Estate Group, LLC (the “Subpoena Matter”). On November 11, 2022 the Parties finalized both a

20 settlement agreement and a lease amendment and are working towards satisfying certain

21 conditions of the settlement that are prerequisites to the dismissal of this Action. Once these

22 conditions are satisfied, the Parties anticipate filing stipulated requests to dismiss both this Action

23 and the Subpoena Matter in due course.

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 1 III.    SCHEDULING

 2         Given that the Parties have finalized settlement, Nextdoor respectfully requests that the

 3 status conference currently scheduled for January 31, 2023 be continued for 30 days, or as soon

 4 thereafter as the Parties may be heard.

 5         Respectfully Submitted,

 6 DATED: January 24, 2023                     QUINN EMANUEL URQUHART & SULLIVAN,
                                               LLP
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 9                                               By          /s/ Dakota S. Speas
                                                      DAKOTA S. SPEAS
10                                                    Attorneys for Plaintiff Nextdoor, Inc.
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